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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                               )
In re:                                         )
                                               )               Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,             )
                                               )               Case No. 19-34054 (SGJ)
               Reorganized Debtor.             )
                                               )
                                               )
HIGHLAND CAPITAL MANAGEMENT, L.P.,             )
                                               )
                    Plaintiff,                 )
vs.                                            )
                                               )               Adv. Proc. No: 21-03007 (SGJ)
HCRE PARTNERS, LLC (n/k/a NexPoint Real Estate )
Partners, LLC), JAMES DONDERO, NANCY )                         Case No: 3:21-cv-01379-X
DONDERO, AND THE DUGABOY INVESTMENT )
TRUST,                                         )
                                               )
                   Defendants.                 )
                                               )

                                CERTIFICATE OF SERVICE

      I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case of
Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On December 13, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Notice of First Motion to Consolidate Notes Actions [Docket No. 18]

Dated: December 16, 2021
                                                 /s/ Elliser Silla
                                                 Elliser Silla
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
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                          EXHIBIT A
                                                    Exhibit A
               Case 3:21-cv-01379-X DocumentCivil19Action
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                                                                  List                                     Page 3 of 5 PageID 617
                                                                    Served via Electronic Mail



                Description                             CreditorName                       CreditorNoticeName                                 Email
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and Get Good Trust                           Heller, Draper & Horn, L.L.C.         Greta M. Brouphy                         gbrouphy@hellerdraper.com
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Dondero, Highland Capital Management
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Bankruptcy Judge                            US Bankruptcy Court                    Hon. Stacey G Jernigan                sgj_settings@txnb.uscourts.gov
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                          EXHIBIT B
                                                                               Exhibit B
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                                                                                             Served via First Class Mail



                Description                             CreditorName                     CreditorNoticeName                     Address1               Address2       Address3       City     State      Zip
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and Get Good Trust                           Heller, Draper & Horn, L.L.C.       Greta M. Brouphy                      2500                                                      New Orleans LA       70130
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                                                                                                                      Chambers of Judge Stacey
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